
Maitly, J.
The principle, assumed by the counsel in the Court below, that the master may sell and deliver corn by the' hands of his slave, he, the master, being present and directing it, is teo plain to admit of contradiction ; but this is not the case presented upon the record.
The master was, indeed, within view of the transaction, between his slave and the defendant; hut there is no evi-' dence that either defendant or .the slave knew of his being there ; much less is there any evidence that the master authorized the act. All the case states, bearing upon this point, is, that the master followed the slave because he suspected that he was going to trade with the defendant, and was in view of the trading when it occurred.
The delivery of the corn was made in th# night time, by the slave, u^on a private interview procured by unusual signals, and may he presumed, under the circumstances, to have been on the slave’s own account, unless the contrary appear. ■ Such a delivery, without a written permission, is against the criminal law, although the owner or manager was cognizant of it and consenting to it. This is decided in the case of Hart, 4 Ire., 246, and is now .approved.
Without impugning, therefore, ‘the position that a slave may lawfully, without a written license, deliver corn in his master’s name and on his master’s account, *53provided his master constitutes him his^agent for .such purpose, and it so appears on the-proofs ; yet it is 'clear that all other trading with, or acceptance from, a. slave, •f corn or other forbidden article, without permission in writing, is unlawful.
The point then preséñted is, whether a delivery of corn by a slave on his own (the slave's) account, the ewner being present and observing the transaction, but giving’ .no permission in writing, is a violation of the criminal law. The Judge belew instructed the jury it was, and in this wo .concur.
We find no error in the procee'dings on the trial' below, and order this to be certified t* the Court, to the end that it may proceed to the final determination of the case.
